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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814

5    Attorney for Defendant
     JORGE LUIS SANCHEZ
6
7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                      )
11   UNITED STATES OF AMERICA,                        )   NO. 2:13-CR-00286 LKK
                                                      )
12                         Plaintiff,                 )   STIPULATION AND ORDER
                                                      )   TO CONTINUE STATUS CONFERENCE
13   v.                                               )
                                                      )   DATE:         November 5, 2013
14   ANTONIO VILLEGAS, et al.,                        )   TIME:         9:15 am
                                                      )   JUDGE:        Hon. Lawrence K. Karlton
15                         Defendants.                )
                                                      )
16
17            IT IS HEREBY STIPULATED by and between the parties hereto through their

18   respective counsel, TODD PICKLES, Assistant United States Attorney, attorney for Plaintiff,

19   GILBERT ROQUE, attorney for defendant ANTONIO VILLEGAS, JOHN MANNING,

20   attorney for defendant JESUS MASCORRO, DAN KOUKOL, attorney for defendant GENERO

21   SANTACRUZ, and BENJAMIN GALLOWAY, attorney for defendant JORGE SANCHEZ that

22   the status conference hearing date of October 1, 2013 be vacated, and the matter be set for status

23   conference on November 5, 2013 at 9:15 a.m.

24            The reason for this continuance is to allow defense counsel additional time to review

25   discovery with the defendants, investigate the facts of the case, and to negotiate resolutions to

26   this matter. The parties find that the ends of justice to be served by granting a continuance

27   outweigh the best interests of the public and the defendant in a speedy trial.

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1            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
2    should be excluded from the date of signing of this order through and including October 1, 2013
3    pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
4    T4 based upon continuity of counsel and defense preparation.
5
6    Dated: September 26, 2013                           Respectfully submitted,
7                                                        HEATHER E. WILLIAMS
                                                         Federal Public Defender
8
                                                         /s/ Benjamin Galloway
9                                                        BENJAMIN GALLOWAY
                                                         Assistant Federal Defender
10                                                       Attorney for Defendant
                                                         JORGE SANCHEZ
11
12   Dated: September 26, 2013                           /s/ Gilbert Roque
                                                         GILBERT ROQUE
13                                                       Attorney for Defendant
                                                         ANTONIO VILLEGAS
14
15   Dated: September 26, 2013                           /s/ John Manning
                                                         JOHN MANNING
16                                                       Attorney for Defendant
                                                         JESUS MASCORRO
17
18   Dated: September 26, 2013                           /s/ Dan Koukol
                                                         DAN KOUKOL
19                                                       Attorney for Defendant
                                                         GENERO SANTACRUZ
20
21   Dated: September 26, 2013                           BENJAMIN WAGNER
                                                         United States Attorney
22
                                                         /s/ Todd Pickles
23                                                       TODD PICKLES
                                                         Assistant U.S. Attorney
24                                                       Attorney for Plaintiff
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     !Unexpected
      United States v.End   of FormulaUnited
                       Villegas, et. Al            -2-
      Stipulation and Order
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1                                                  ORDER
2            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
3    October 1, 2013, status conference hearing be continued to November 5, 2013, at 9:15 a.m.
4    Based on the representation of defense counsel and good cause appearing there from, the Court
5    hereby finds that the failure to grant a continuance in this case would deny defense counsel
6    reasonable time necessary for effective preparation, taking into account the exercise of due
7    diligence. The Court finds that the ends of justice to be served by granting a continuance
8    outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
9    time up to and including the November 5, 2013 status conference shall be excluded from
10   computation of time within which the trial of this matter must be commenced under the Speedy
11   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
12   defense counsel reasonable time to prepare.
13   Dated: September 27, 2013
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     !Unexpected
      United States v.End   of FormulaUnited
                       Villegas, et. Al             -3-
      Stipulation and Order
